




 











&nbsp;

IN THE

TENTH COURT OF APPEALS




 
  
 
 
  
  
 


&nbsp;



No. 10-05-00379-CR

No. 10-05-00380-CR

&nbsp;

James Ray Upole,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant

&nbsp;v.

&nbsp;

The State of Texas,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee

&nbsp;

&nbsp;



From the 400th District Court

Fort Bend County, Texas

Trial Court No. 40740 and 40739


&nbsp;



MEMORANDUM&nbsp; Opinion










&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Upole appeals his convictions for
aggravated sexual assault.&nbsp; See Tex.
Penal Code Ann. §&nbsp;22.021(a) (Vernon Supp. 2005).&nbsp; We affirm.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In Upole’s sole issue, he contends that
the trial court erred in overruling Upole’s objection to evidence of Upole’s
recorded oral statement.&nbsp; Upole argues that the statement was involuntary
“because it was induced by false representations by the state’s investigating
officer.”&nbsp; (Br. at 4.)

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; “No State shall .&nbsp;.&nbsp;. deprive
any person of life, liberty, or property, without due process of law
.&nbsp;.&nbsp;.&nbsp;.”&nbsp; U.S. Const.
amend. XIV, §&nbsp;1.&nbsp; “[T]he Fourteenth Amendment secures against state
invasion the same privilege that the Fifth Amendment guarantees against federal
infringement—the right of a person to remain silent unless he chooses to speak
in the unfettered exercise of his own will .&nbsp;.&nbsp;.&nbsp;.”&nbsp; Missouri
v. Seibert, 542 U.S. 600, 607 (2004) (quoting Malloy v. Hogan, 378 U.S. 1, 8 (1964)); see U.S. Const.
amend. V.&nbsp; “The use in a state criminal trial of a defendant’s confession
obtained by coercion—whether physical or mental—is forbidden by the Fourteenth
Amendment.”&nbsp; Payne v. Arkansas, 356 U.S. 560, 561 (1958).&nbsp; “[T]he
voluntariness of a statement is often said to depend on whether ‘the
defendant’s will was overborne.’”&nbsp; Yarborough v. Alvarado, 541 U.S. 652, 667 (2004) (quoting Lynumn v. Illinois, 372 U.S. 528, 534 (1963)).&nbsp;
“[V]oluntariness is evaluated by examining the ‘totality of circumstances’
surrounding the ‘making and signing of the challenged confession.’”&nbsp; Mayle
v. Felix, 125 S.&nbsp;Ct. 2562, 2573 (2005) (quoting Haynes v.
Washington, 373 U.S. 503, 513-14 (1963)).&nbsp;&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; “An appellate court reviews a trial
court’s decision to admit or exclude evidence under an abuse of discretion
standard.”&nbsp; Shuffield v. State, 189 S.W.3d 782, 793 (Tex. Crim. App.
2006); accord Wilkerson v. State, 173 S.W.3d 521, 524 (Tex. Crim. App.
2005) (statement); Montgomery v. State, 810 S.W.2d 372, 391 (Tex. Crim.
App. 1991) (op. on reh’g).&nbsp; “If the trial court’s decision was within the
bounds of reasonable disagreement, the appellate court should not disturb its
ruling.”&nbsp; Shuffield at 793; accord Montgomery at 391.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; “Misrepresentations made by the police to
a suspect during an interrogation is a relevant factor in assessing whether the
suspect’s confession was voluntary, but it is insufficient to render an
otherwise voluntary confession inadmissible.”&nbsp; Green v. State, 934
S.W.2d 92, 99 (Tex. Crim. App. 1996); see Frazier v. Cupp, 394 U.S. 731, 739 (1969).&nbsp; “Of the numerous types of police deception, a misrepresentation relating
to an accused’s connection to the crime is the least likely to render a
confession involuntary.”&nbsp; Green at 100.&nbsp;&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Upole contends only that an investigating
detective made misrepresentations and that those misrepresentations induced
Upole’s confession.&nbsp; If the detective made misrepresentations, they are
insufficient to render Upole’s confession inadmissible.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In any case, the trial court did not abuse
its discretion.&nbsp; In support of his argument, Upole points only to the following
testimony on his cross-examination of the detective concerning the interview:

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Q&nbsp;&nbsp;&nbsp; So, it would be a
misstatement by you that there was evidence of vaginal penetration of the
vagina of both girls?

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A&nbsp;&nbsp;&nbsp; At the time, the information I had,
yes.

(3 R.R. 247.)

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The record does not clearly show that the
detective made any misrepresentations.&nbsp; On cross-examination by Upole, the
detective testified as follows:

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Q&nbsp;&nbsp;&nbsp; Detective, do you have
your narrative report dated 8-25-2004?

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A&nbsp;&nbsp;&nbsp; Yes, sir.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; .&nbsp;.&nbsp;.&nbsp;.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Q&nbsp;&nbsp;&nbsp; .&nbsp;.&nbsp;.&nbsp;.&nbsp;
Would you read that to the jury, “I then asked [Upole] that”?

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; .&nbsp;.&nbsp;.&nbsp;.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A&nbsp;&nbsp;&nbsp; .&nbsp;.&nbsp;.&nbsp;.&nbsp;
“I then asked [Upole] that the test during the exam showed that both girls had
been penetrated, which was called digital penetration.”

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Q&nbsp;&nbsp;&nbsp; Now, at that point, you
had indicated to him that you had a test and that exam of the girls would show
that both girls had been penetrated.&nbsp; Isn’t it true that those tests did not
show that?

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A&nbsp;&nbsp;&nbsp; From the S[exual
]A[ssault ]N[urse ]E[xaminer] exam?

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Q&nbsp;&nbsp;&nbsp; Isn’t it true that when
you said that, what you’re telling him is the test from the examination of both
girls showed that both girls had been penetrated?&nbsp; It says that in the report,
correct?

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A&nbsp;&nbsp;&nbsp; Correct.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Q&nbsp;&nbsp;&nbsp; And at that time you knew
that those examinations did not show that both of the girls had been
penetrated, correct?

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A&nbsp;&nbsp;&nbsp; The information I had
showed that they had been penetrated.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Q&nbsp;&nbsp;&nbsp; What information did you
have?

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A&nbsp;&nbsp;&nbsp; The SANE exam.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Q&nbsp;&nbsp;&nbsp; The which exam?

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A&nbsp;&nbsp;&nbsp; The exam from the SANE
nurse.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Q&nbsp;&nbsp;&nbsp; Okay.&nbsp; And where had they
been penetrated in that examination?&nbsp; From the best of your recollection, where
were they penetrated?

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A&nbsp;&nbsp;&nbsp; In the vagina.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Q&nbsp;&nbsp;&nbsp; In the vagina, okay.&nbsp;
Would it surprise you to know that the witness who just testified indicated
that that younger girl had a normal vaginal examination?

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A&nbsp;&nbsp;&nbsp; No, sir, I did not know that.

(3 R.R. 244-45.)&nbsp; The sexual assault examination
forensic reports state that each victim’s female sexual organ had been
penetrated.&nbsp; (State’s Exs. 3-4.)&nbsp; The trial court would not have abused its
discretion in finding no misrepresentation.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The trial court did not abuse its
discretion in overruling Upole’s objection.&nbsp; We overrule Upole’s issue.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Having overruled Upole’s sole
issue, we affirm.

TOM GRAY

Chief
Justice

Before Chief Justice Gray,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice Vance, and

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Reyna

Affirmed

Opinion
delivered and filed July 26, 2006

Do
not publish

[CR25]





